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Paige B. Tinkham

Counsel for Capital Funding, LLC

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
In re:

22 Maple Street, LLC,                                                   Case No. 18-40816

                           Debtor.                                      Chapter 11
--------------------------------------------------------------x
In re:

25 Oriol Drive, LLC,                                                    Case No. 18-40817

                           Debtor.                                      Chapter 11
--------------------------------------------------------------x
In re:

59 Coolidge Road, LLC,                                                  Case No. 18-40818

                           Debtor.                                      Chapter 11
--------------------------------------------------------------x
In re:

20 Kinmonth Road, LLC,                                                  Case No. 18-40819

                           Debtor.                                      Chapter 11
--------------------------------------------------------------x

                  NOTICE OF APPEARANCE AND REQUEST FOR NOTICE

         PLEASE TAKE NOTICE that Paige Barr Tinkham, an attorney with the law firm of

Katten Muchin Rosenman LLP, hereby provides notice of her appearance as counsel of record




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for Capital Funding, LLC in the above-captioned matters, and requests electronic service of all

notices, filings, pleadings, motions, orders and processes in these cases.



Dated: April 1, 2018                          Respectfully submitted;

                                                      By:    /s/ Paige B. Tinkham
                                                      Kenneth J. Ottaviano, (Admitted Pro Hac)
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